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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

CARMEN GOTTLIEB,
Plaintiff,
-against-
ORDER
EUGENE SCALIA in his official capacity as Secretary of :

Labor, : 17 Civ. 7622 (GBD) (GWG)

Defendants.

GEORGE B. DANIELS, District Judge:
The pretrial conference scheduled to occur on November 10, 2020 at 10:30 a.m. is hereby

cancelled. A status conference is scheduled for February 16, 2020 at 9:45 a.m.

Dated: November 6, 2020
New York, New York
SO ORDERED.

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GEORG “DANIELS
ED'STATES DISTRICT JUDGE

 

 

 
